     Case 3:06-cr-00036-RLY-CMM                       Document 14           Filed 08/07/12         Page 1 of 2 PageID #: 45
OAO 245S Modified (Rev. 10/08) Judgment in a Revocation Case




                                           UNITED STATES DISTRICT COURT
                  SOUTHERN                              District of                                INDIANA
     UNITED STATES OF AMERICA                                             JUDGMENT IN A VIOLATION HEARING
                                                                                    Modification of Supervision Only
                             V.                                          (For Offenses Committed On or After November 1, 1987)
               AARON DRUMM
                                                                 Case Number:           3:06CR00036-001
                                                                 Douglas S. Walton
                                                                 Defendant’s Attorney

                DISPOSITION OF PROBATION / SUPERVISED RELEASE VIOLATION HEARING
THE DEFENDANT:
X      was adjudged guilty of Violation Number(s)          1-4
     and special condition(s)

Accordingly, the defendant is adjudged guilty of such charge(s), which involve the following:

   Violation Number                         Nature of Violation                           Date(s)
             1             New arrest                                                     2/26/12
             2             Cocaine use                                                    2/26/12
             3             Leaving the district without permission                        2/26/12
             4             Associating with individuals in violation of the law           2/26/12
        The defendant’s probation/supervised release is modified as provided in pages 1 through 2 of this Judgment, pursuant to the
Sentencing Reform Act of 1984 and Title 18 U.S.C.§ 3563(c) or 3583(e).

G      The defendant has been found not guilty of violation of condition(s)
       and special condition(s)
G      Charge(s)                                                                 is/are dismissed on the motion of the United States.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid.

Last Four Digits of Defendant’s Soc. Sec. No.:   1222            7/31/2012
                                                                 Date of Imposition of Judgment
Defendant’s Year of Birth:                       1981


                                                                   __________________________________
                                                                 Signature of Judicial Officer
City and State of Defendant’s Residence:
Lebanon, IN                                                       RICHARD L. YOUNG, CHIEF JUDGE
                                                                  United States
                                                                 Honorable Richard District  Court
                                                                                     L. Young,   Chief U.S. District Court Judge
                                                                  Southern
                                                                 Name        District
                                                                      and Title        of Indiana
                                                                                of Judicial Officer

         A CERTIFIED TRUE COPY                                    8/07/2012
         Laura A. Briggs, Clerk                                  Date
         U.S. District Court
         Southern District of Indiana

         By
                                  Deputy Clerk
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 AO 245S      (Rev. 01/94) Judgment in a Revocation Case
              Sheet 2
                                                                                                   Judgment—Page      2     of       2
 DEFENDANT:                  AARON DRUMM
 CASE NUMBER:                3:06CR00036-001

     Accordingly, the defendant is adjudged guilty of such charge(s), which involve the following:

Violation Number                                           Nature of Violation                             Date(s)




The Court finds, after a hearing upon notification by the probation officer, the offender is in violation of the conditions of release as
set forth in this Judgment order and modifies the terms/conditions as follows:


1.         The defendant shall reside for a period of 4 months at a Residential Reentry Center (RRC) as directed by the probation officer
           and shall observe the rules of that facility.
2.         The defendant shall participate in a substance abuse treatment program at the direction of the probation officer, which may
           include no more than eight drug tests per month. The defendant shall abstain from the use of all intoxicants, including
           alcohol, while participating in a substance abuse treatment program. The defendant is responsible for paying a portion of the
           fees of substance abuse testing and/or treatment.
3.         Upon the finding of the probation officer the defendant is no longer in need of residential placement, is in compliance with
           the terms of his supervision, and does not appear a risk of violating his terms of supervision, then, the probation officer may
           seek input from the United States Attorney’s Office, and memo the Court seeking a modification to release him from the
           Residential Reentry Center (RRC).
